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Telephone: (858) 750-7600
Facsimile: (619) 590-1385




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
In re                                          Case No. 17-22461-AJC

TAMARA T VERNON,                               Chapter 13
               Debtor(s).                      PROOF OF SERVICE


        I, Lauren Timby, declare that:

        I am employed by Aldridge Pite, LLP. My business address is:Fifteen Piedmont Center,
 3575Piedmont Road, N.E., Suite 500, Atlanta, GA 30305. I am over the age of eighteen
years andnot a party to this case.
        On September 24, 2019, I caused the NOTICE OF MORTGAGE PAYMENT CHANGE
to be served in said case by electronic means through the court’s CM/ECF system or through
United States Mail from San Diego, California, addressed as follows: SEE ATTACHED
SERVICE LIST.
        I declare under penalty of perjury that the foregoing is true.




                                               /s/Lauren Timby
                                               LAUREN TIMBY




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PROOF OF SERVICE
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                                        SERVICE LIST
DEBTOR(S)
(VIA US MAIL)
Tamara T Vernon
1859 NW 68 Terrace
Miami, FL 33147



DEBTOR(S) ATTORNEY
(VIA ELECTRONIC NOTICE)
Carolina A Lombardi
Legal Services of Greater Miami, Inc.
4343 West Flagler Street #100
Miami, FL 33134
CLombardi@legalservicesmiami.org


CHAPTER 13 TRUSTEE
(VIA ELECTRONIC NOTICE)
Nancy K. Neidich
www.ch13miami.com
POB 279806
Miramar, FL 33027
e2c8f01@ch13miami.com


UNITED STATES TRUSTEE
(VIA ELECTRONIC NOTICE)
Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130
USTPRegion21.MM.ECF@usdoj.gov




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PROOF OF SERVICE
